                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR16-0051-LTS
 vs.                                                           ORDER
 STANLEY EARL MOSLEY, JR.,
                Defendant.
                                   ____________________

        This matter is before me on a Report and Recommendation (R&R) in which the
Honorable Jon Stuart Scoles, Chief United States Magistrate Judge, recommends that I
accept defendant’s conditional plea of guilty. See Doc. No. 79.


                                   I.   BACKGROUND
        On June 8, 2016, defendant was charged in a one-count indictment (Doc. No. 4)
with bank robbery and aiding and abetting in violation of 21 U.S.C. §§ 2113(a) and 2.
On August 11, 2016, defendant appeared before Judge Scoles and entered a conditional
plea of guilty pursuant to Federal Rule of Criminal Procedure 11(a)(2). Judge Scoles
filed the R&R on the same date. Neither party has filed written objections to the R&R.
Any objections are now deemed waived. See N.D. Ia. L.R. 72.1.


                             II.   APPLICABLE STANDARDS
        A district judge must review a magistrate judge’s R&R under the following
standards:
        Within fourteen days after being served with a copy, any party may serve
        and file written objections to such proposed findings and recommendations
        as provided by rules of court. A judge of the court shall make a de novo
        determination of those portions of the report or specified proposed findings



       Case 1:16-cr-00051-LTS-CJW       Document 93     Filed 08/26/16    Page 1 of 3
       or recommendations to which objection is made. A judge of the court may
       accept, reject, or modify, in whole or in part, the findings or
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1); see also Fed. R. Civ. P. 72(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                  III.    DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error. Based
on that review, I am not “left with the definite and firm conviction that a mistake has
been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the R&R



                                             2


    Case 1:16-cr-00051-LTS-CJW           Document 93     Filed 08/26/16    Page 2 of 3
without modification and accept defendant’s conditional plea of guilty in this case to
Count 1 of the indictment.


      IT IS SO ORDERED.
      DATED this 26th day of August 2016.




                                       ________________________________
                                       LEONARD T. STRAND
                                       UNITED STATES DISTRICT JUDGE




                                          3


    Case 1:16-cr-00051-LTS-CJW       Document 93     Filed 08/26/16   Page 3 of 3
